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'MKM;DGR
F_#2017R01333

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

 

IN THE MATTER OF THE SEARCH OF A
GOLD APPLE IPHONE 7 PLUS, MODEL
A1784 SEIZED DUR.ING A SEARCH
[NC]DENT TO THE AR_REST OF

FRANCIS WHITM[RE ON APRIL 10, 2018,
CURR_ENTLY LOCATED AT 300 COFFEY
STREET, BROOKLYN, NEW YORK 11231 `

APPLICATION FOR A SEARCH
` WARRANT FOR AN ELECTRONIC
DEVICE

Case No.

 

 

A_FFIDAVIT IN SUPPOR'I` 0131 AN
APPLICATION UNDER RULE 41 FOR A
WARRANT TO SEARCHAND SEIZE

I, Natalie Diaz, being first duly sworn, hereby depose and State as follows:
INTRODUCTION AND AGENT BACK_GROUND

l. l make this affidavit in support of an application under Rule 41 of the Federal 7
Rules of Crirn'i_nal Procedure for a Search warrant authorizing the examination of property#an
electronic device--Which is currently in law enforcement possession, and the extraction from
that property of electronically stored information described in Attachrnent B.

2. l am a Special Agent With the Bureau of Alcohol, Tobacco, Firearrns, and
EXplosives (“ATF”) and since 2016 I have been assigned to the ATF and New York City Police '
Departrnent (“NYPD”) Joint Firearms Task Force (the “Task Force”). I have participated in
numerous investigations of firearms trafficking I am familiar With the use of cellular phones,
computers, and messagin-g applications to further the sale and trafficking of firearms.

3. The facts in this affidavit come from my personal observations, rny__ training and

experience, and information obtained from other agents and witnesses. Tliis affidavit is intended

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to show merely that there is sufficient probable cause for the requested warrant and does not set
forth all of my knowledge about this matter.
IDENTIFICATION OF THE DEVICE TO BE EXAMINED

4. The property to be searched is a Gold'Apple i_Phone 7 Plus, Model Al784 seized
incident to the arrest of FRANCIS WHITMIRE on April 30, 2018 (the “Device”). The Device is 1
currently in the custody of the Task Force at 300 Coffey Street, Brooklyn New York 11231.

5. The applied-for warrant would authorize the forensic examination of the I)evice
for the purpose of identifying electronically stored data particularly described in Attachment B.

l PRoBABLE CAUSE l

6. Since May 2017, the Task Force has been investigating firearms trafficking by
DARlRELL SPRUILL. During the investigation, the 'l`ask Force has used the UC to purchase '
multiple firearms from SPRU[LL, and, for each sale, SPRU_ILL has communicated with an
undercover law enforcement agent (the “UC”) using a cellular telephone, first assigned call
number (646) 436-9790 (the “-9790 PHONE”) and then, as of March 2018, assigned call number l
(646) 922~2255 (the “-2255 PHONE”) l n

7. A review of telephone records for the SPRUILL PHONE reveal that, generally,
before, during and after certain of the firearm sales, the SPRUILL PHONE also communicated
with a cellular telephone assigned call number (609) 772-7655, which, based on records obtained
from the service provider for that telephone is assigned to an Apple iPhone 7 Plus and Subscribed
to by “Andrea L. Gilyard.” Based on my review of law enforcement databases for the (609) 772-
7655 phone, I' know that the name “Francis Whitmire” is associated with that number.
Additionally, (609) 772-765 5 is listed as a telephone number for a Facebook profile with

username “f`ranchisemwhite” (the “Franchise White Facebook”). Based on my review of

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photographs posted to the Franchise White Facebook, and my review of known photographs of
FRANCIS Wf]lTl\/.[IRE, l believe that the Franchise Wliite Facebook is used by FRANCIS
WHITl\/.URE. Based on the foregoing, and for the reasons set forth below, I believe that the
cellular telephone assigned call number (609) 772-7655 is used by FRANCIS WHITl\/HRE (the
“WHITMIRE PHONE”).

8. As noted above, a review of telephone records for the SPRU]LL PHONE reveal
that, generally, before, during and after certain of the firearm sales, the SPRUlLL PHONE also
communicated with the WHITMIRE PHONE. -

9. For example, SPRUILL sold multiple firearms to the UC on December 18, 2017,
which sale was surveilled by the Task Force and recorded by surveillance cameras inside the
UC’s vehiclel

10. Based on my review of that footage, l am aware that, during the sale, SPRUILL
handed the UC multiple firearms and he noted that one firearm was missing its_ “clip” or
magazine Thereafter, SPRUlLL told the UC that he needed to return to “Kingsborough”' to get
the missing magazine

ll. 'l`hereafter, SPRUILL made a telephone call while inside the UC’s vehicle, during
which the following exchange was overheard:

SPRUILL: Yo, Bro, um, l don’t got the clip for the, um Ruger.
UM: [lnaudible]

SPRUILL: lt’s in the bag?

UM:‘ [lnaudible]

SPRUILL: Alright, so, um, call your moms. I’m about to come right now.

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l2. After completing the telephone call, SPRUILL exited the vehicle. He returned to
the UC’s vehicle shortly thereafter, and he handed the UC a magazine for one of the firearms
being purchased by the UC. ' -

13. l have reviewed telephone records for the SPRUILL PHONE and learned that at
the approximate time SPRUILL made the telephone call transcribed above from inside the UC’s
vehicle, SPRUILL called the WHITMIRE PHONE.

14. I have also reviewed law enforcement records, including records of the New York
City Police Department related to New York City housing, and I am aware that since
approximately 2012, FRANCIS WHITMIRE’$ mother “Hope Whitmire” has resided at 408
l{ingsborough, Apartment 3E. Additionally, I am further aware that in connection with a 2005
arrest for criminal possession of a weapon and a 2006 arrest for perjury, “641 Kj.ngsborough,
Brooklyn, New York” was listed as WHITMIRE’s address

15. Based on the foregoing, l believe that during SPRUlLL’s telephone call from n
inside the UC’s vehicle, SPRUILL was speaking to WHlTMIRE about the magazine for one of
the firearms sold to the UC. l further believe that SPRUILL returned to a location
(“Kingsboroug ”) associated with WHlTMIRE to pick up the magazine l

16.. Further, based on my review-of historical location information for the
WHITMIRE PHONE, which was obtained pursuant to judicially-authorized search warrants, I
am aware that just before the December 18, 2017 sale, the WHITMIRB PHONE travelled from
South Carolina to New York, was in the vicinity of the firearm sale on December 18, 2017 and
returned to_South Carolina shortly after the firearm sale.

17. On April 26, 2018 a grand jury in the Eastem District of New York returned a

sealed mdictmerit charging SPRUILL and WHITMIRE with conspiring to trach firearms and

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with trafficking firearmsj and charging WHlTM[RE with being a felon in possession of a
firearm. That day, the Honorable Viktor V. Pohorelsky signed an arrest warrant for SPl{U'lLL’s
arrest

18. On April 30, 2018, WHITMIRE was arrested in South Carolina pursuant to that
warrant During a search incident to that arrest, law enforcement officers found a hand-written
list of multiple firearms on `Wl-HTMIRE’s person.

19. The Device is currently in the lawful possession of the Task Force. lt came into
- the Task Force’s possession in the following way: On April 30, 2018, members of the Task
Force arrested WHITMIRE pursuant to an arrest warrant issued by the Honorable Viktor V.
Pohorelsky, United States Magist_rate Judge, Eastern District of New York. At that time, the
Device was in SPRUILL’s possession and was seized during the execution of the arrest warrant
Therefore, while the Task Force might already have all necessary authority to.e_xamine the
Device, l seek this additional warrant`out of an abundance of caution to be certain that an
examination of the Device will comply with the Fourth-Arnendment and other applicable laws.

20. The Device is currently in the custody of the Task Force in the Eastern I)istrict of
New York. ln my training and experience, I know that the Device has been stored in a manner in
which its contents are, .to the extent material to this investigation, in substantially the same state

as they were when the Device first came into the possession of the Task Force.

TECH;NICAL TERMS
21. ' Based on my training and experience, luse the following technical terms to
convey the following meanings:
a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular

telephone) is a handheld wireless device used for voice and data communication through radio

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signals These telephones send signals through networks of transmitter/receivers, enabling 7
communication with other wireless telephones or traditional “land line” telephones A wireless
telephone usually contains a “call log,” which records the telephone number, date, and time of
7 calls made to and from the phone, ln addition to enabling voice communications, wireless
telephones offer a broad range of capabilities These capabilities include: storing names and
~ telephone numbers in electronic c‘addrcss books ;” sending, receiving, and storing text messages
and e-mail; taking, sending, receiving, and storing still photographs and moving video; storing
and playing back audio files; storing dates, appointments, and other information on personal
calendars; and accessing and downloading information from the lnternet. Wireless telephones
may also include global positioning system (“GPS”) technology for determining the location of
the Device. n . -

b. Digital camera:. A digital camera is a camera that records pictures as
' digital picture files, rather than by using photographic fi]m. Digital cameras use a variety of
fixed and removable storage media to store their recorded images§ lmages can usually be
retrieved by connecting the camera to a computer or by connecting the removable storage
medium to a separate reader. Removable storage media include various types of flash memory
cards or miniature hard drives. Most digital cameras also include a screen for viewing the stored
images. This storage media can contain any'digital data, including data unrelated to photographs
or videos.

c. Portable media player: A portable media player (or “l\/]P3 Player” or
ifod) is a handheld digital storage device designed primarily to store and play audio, video,l or
photographic files However, a portable media player can also store other digital data_ Some

portable media players can use removable storage media R_emovable storage media include

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various types of flash memory cards or miniature hard drives This removable storage media can
also store any digital data. Depend:ing on the model, a portable media player may have the
ability to store very large amounts of electronic data and may offer additional features such as a '
calendar, contact list, clock, or games

d. GPS: A GPS navigation device uses the Global Positioning System to
display its current location lt often contains records the locations where it has been. Some GPS
navigation devices can give a user driving or walking directions to another location These l
devices can contain records of the addresses or locations involved in such navigation The
Global Positioning System (generally abbreviated “GPS”) consists of 24 NAVSTAR satellites
orbiting the Earth. Each satellite contains an extremely accurate clock. Each satellite repeatedly
transmits by radio a mathematical representation of the current time, combined with a special
sequence of numbers These signals are sent by radio, using specifications that are publicly
available A GPS antenna on Earth can receive those signals When a GPS antenna receives
signals from at least four satellites, a computer connected to that antenna can mathematically
calculate the antenna’s latitude, longitude, and sometimes altitude with a'high level ofprecision.

e. PDA: A personal digital assistant, or,PDA, is a handheld electronic device
used for storing data (such as names, addresses, appointments or notes) and utilizing computer
programs Some PDAs also fimction as wireless corrmiuni'cation devices and are used to access
the lnternet and send and receive e-mail. PDAS usually include a memory card or other
removable storage media for storing data and a keyboard and/or touch screen for entering data
Removable storage media include various types of flash memory cards or miniature hard drives
This removable storage media can store any digital data. Most PDAs run computer software,

giving them many of the same capabilities as personal computers For example, PDA users can

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work with word-processing documents, spreadsheets, and presentations PDAS may also include
global positioning system (“GPS”) technology for determining the location of the Device

-f. Tablet: A tablet is a mobile computer, typically larger than a telephone
yet smaller than a notebook, that is primarily operated by touching the screen Tablets fimction
as wireless communication devices and can be used to access the lnternet through cellular
networks, 802.11 “wi-fi” networks or otherwise Tablets typically contain programs called
apps, which, like programs on a personal computer, perform different functions and save data
associated with those functions Ap'ps can, for example, permit accessing the Web, sending and
receiving e-mail, and participating in lnternet social networks

g. lP Address: An lnternet Protocol address (or simply “lP address”) is a _
unique numeric address used by computers on the lnternet. An lP address is a series of four
numbers, each in the range 0-255, separated by periods (e.g., l2l.56.97.178). Every computer
attached to the lntemet computer must be assigned an lP address so that lnternet traffic sent from
and directed to that computer may be directed properly nom its source to its destination Most
lnternet service providers control a range of lP addresses Some computers have staticithat is,
long-termilP addresses, while other computers have dynamic'_that is, frequentlychanged_IP
addresses l

h.' lnternet: The lnternet is a global network of computers and other
electronic devices that communicate with each other. Due to the structure of the lnternet,
connections between devices on the lnternet often cross_state and international borders, even
when the devices communicating with each other are in the same state.

22. Based on my training, experience, and research, l know that the Device has

capabilities that allow it to serve as a wireless telephone, digital camera, portable media player,

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GPS navigation device, and PDA. In my training and experience, examining data stored on
devices of this type can uncoverJ among other things, evidence that reveals or suggests who
possessed or used the Device

_ ELECTRONIC STORAGE AND FORENSlC ANALYSIS

23. Based on my knowledge training, and experience, I know that electronic devices
can store information for long periods of time Similarly, things that have been viewed via the
lnternet are typically stored for some period of time-on the Device 'lhis information can
sometimes be recovered with forensics tools.

24. Forensic evidence 'As further described in Attaclnnent B, this application seeks
permission to locate not only electronically stored information that might serve as direct 7
evidence of the crimes described on the warrant, but also forensic evidence that establishes how
'the Device was used, the purpose of its use, who used it, and when. There is probable cause to
believe that this forensic electronic evidence might be on the Device because: `

- 25. Data on the storage medium can provide evidence of a file that was once on the

‘ storage medium but has since been deleted or edited, or of a deleted portion of a file (such as a
paragraph that has been deleted from a word processing file). Forensic evidence on a device.can
also indicate who has used or controlled the Device This “user attribution”. evidence is
analogous to the search for “indicia of occupancy” while executing a search warrant at a
residence

a. A person with appropriate familiarity with how an electronic device works

may, after examining this forensic evidence in its proper context; be able to draw conclusions

about how electronic devices were used, the purpose of their use, who used them, and when.

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b. The process of identifying the exact electronically-stored information on a
storage medium that are necessary to draw an accurate conclusion is a dynamic process
Electronic evidence is not always data that can be merely reviewed by a review team and passed
along to investigators Whether data stored on a computer is evidence may depend on other
information stored on the computer and the application of knowledge about how a computer
behaves. 'l'herefore, contextual information necessary to understand other evidence also falls
within the scope of the warrant '

n c. Further, in finding evidence of how a device was used, the purpose of its
use, who used it, and when, sometimes it is necessary to establish that a particular thing is not
_ present on a storage medium. `

26. Nature ofexaminarion. Based on the foregoing, andconsistent with Rule
41(e)(2)(B), the warrant l am applying for would permit the examination of the Device
consistent with the warrant The examination may require authorities to employ techniques,
including but not limited to computer-assisted scans of the entire medium, that might expose `
many parts of the Device to human inspection in order to determine whether it is evidence
described by the warrant

27. Manner ofexecution. Because this warrant seeks only permission to examine a
device already in law enforcement’s possession, the execution of this warrant does not involve
the physical intrusion onto a premises Consequently, I submit there is reasonable cause for the

Court to authorize execution of the warrant at any time in the day or night

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CONCLUSION
28. I submit that this affidavit supports probable cause for a search warrant
authorizing the examination of the Device described in Attachment A to seek the items described

in Attachment B.

Respectfully submitted,

07§@>@_¢;_

Natalie DiaZ z

Spe_cial Agent

Bureau of Alcohol, Tobacco, Firearms and
Explosives

Subscribed and sworn to before me
on lurie 19 &:MS_.

 

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ATTACHMENT A

The property to be searched is a Gold Apple iPhone 7 l-‘lus, Model Al 784 seized incident
to the arrest of FRANCIS WHITMIRE on April 3(), 2018 (the “Device”). The Device is
currently in the custody of the Task Force at 300 Coffey Street, Brooklyn New York 11231.

This warrant authorizes the forensic examination of the Device for the purpose of

identifying the electronically stored information described in Attachment B.

 

' financial records

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1. All records on the Device described in Attachment A that relate to violations of
18 U.S.C. §§ 922, 924, and 371 and involve FRANCIS WHITMLRE between May l, 2017 and

April 30, 2018, including:

a. records and information concerning the source of supply for firearms
(includjng names, businesses, addresses, telephone numbers, or any other identifying

information) ;

b. records and information concerning the locations used to store firearms or

the proceeds from firearms sales;

c. information about and lists of firearms customers and related identifying
information;

d. information concerning transactions with firearms customers and related
identifying information;

e. models, calibers, types, and prices of firearms as well as dates and places

of any firearms-related transactions;

f. any information recording WHITMIRE’s location, schedule or travel from
May l_, 2017 to May l, 2018;
g. l all bank records, checks, credit card bills, account information, and other

 

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2_ Evidence of user attribution showing who used or owned the Device atthe. time
the things described in this warrant were created, edited, or deleted, such as logs, phonebooks,

saved usemames and passwords, documents, and browsing'history;

3. Records evidencing the use of the lnternet Protocol address used to communicate

with DARRELL SPRU[LL and any other firearms purchasers or sellers, including-z
a. records of lnternet Protocol addresses used; l

b. records of lnternet activity, including firewall logs, caches, browser
l history and cookies, “bool<marked” or “favorite” web pages, search terms that the user entered

into any lnternet search engine, and records of user-typed web addresses

As used above, the terms L‘records” and “information” include all of the foregoing items
of evidence in whatever form and by whatever means they may have been created or stored,
including any form of computer or electronic storage (such as flash memory or other media that

can store data) and any photographic form.

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